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                    IN THE UNITED STATES DISTRICT COURT FOR
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,                        *
                                                 *
VS.                                              *   CR. NO. 02-00190-CG
                                                 *
DAVID MICHAEL SWINDLE,                           *
                                                 *
       Defendant.                                *

                                             ORDER

       This matter is before the court on the United States’ Motion Filed Pursuant to F.R.C.P.

35, requesting reduction of sentence for substantial assistance in a criminal prosecution.

       Upon due consideration and based on the grounds cited, the United States’ motion is

GRANTED. Therefore, it is ORDERED that defendant David Michael Swindle’s sentence as

set out in the judgment entered on January 8, 2004, (Doc. 195) hereby is amended, and his term

of imprisonment as to Count 1 is reduced from fifty-seven (57) months to forty-three (43)

months. All other terms and conditions of the sentence and judgment remain the same.

       DONE AND ORDERED this 7th day of December, 2006.


                                              /s/ Callie V. S. Granade
                                              CHIEF UNITED STATES DISTRICT JUDGE
